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                      IN THE UNITED STATES DISTRICT COURT FOR THE                 F p-.l _ L,
                                                                                  ::n r
                              EASTERN DISTRICT OF VIRGINIA                                APR-6 2021
                                                                                                                  .J
                                    ALEXANDRIA DIVISION                                • ■ '/
                                                                                           '  '   '■   w.   >,i




 UNITED STATES OF AMERICA
                                                        Case No. l:21-cr-71
                 V.

                                                        Count 1: 18 U.S.C. § 1344 (Bank Fraud)
 JONATHAN EDWARD DREW,                                  Count 2: 18 U.S.C. § 1028A(a)(l)
         a/k/a "Jon Drew"                               (Aggravated Identity Theft)

                 Defendant.                            Forfeiture Notice



                                  CRIMINAL INFORMATION


       THE UNITED STATES ATTORNEY CHARGES THAT:


                                              COUNT 1
                                             (Bank Fraud)

At all times relevant to this Information:


        1. Defendant JONATHAN EDWARD DREW (hereinafter "DREW" or "the

defendant") resided in Reston, Virginia, located within the Eastern District of Virginia.

       2. First Internet Bank of Indiana ("FIBI") provided a range of traditional banking

services throughout the United States, including in the Eastern District of Virginia, and is a

financial institution as defined by Title 18, United States Code, Section 20.

       3. Company A was a limited liability company incorporated in Virginia and located in

Reston, Virginia, within the Eastern District of Virginia.

       4. Individual J.B. was a real person who resided within the Eastern District of Virginia.

                                    The Scheme and Its Objects

       5. From on or about December 2019 to on or about August 2020, in the Eastern District
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of Virginia, JONATHAN EDWARD DREW did knowingly execute and attempt to execute a

scheme to defraud FIBI and other financial institutions and to obtain moneys,fimds,credits,

assets, securities, and other property owned by, and under the custody and control ofFIBI, by

means offalse and fraudulent pretenses, representations, and promises.

                                       Manner and Means


       6. DREW executed the scheme to defraud financial institutions from his residence in

Reston, located within the Eastem District of Virginia, by means ofcomputer and otherwise.

       7. DREW possessed without lawful authority the means ofidentification ofnumerous

real individuals. DREW would open bank accounts in the names ofreal individuals and

businesses; attempt to negotiate checks drawn on those bank accounts without lawful authority;

would negotiate stolen checks; and negotiate counterfeit checks, all as part ofthe scheme.

       8. Specifically, DREW used, without consent and without lawful authority,the identity

ofIndividual J.B. to misrepresent his and Individual J.B.'s identity to open a FIBI checking

account online in the name ofCompany A under false pretenses. When opening the checking

account using stolen personal identification information, DREW used the address of his personal

residence to receive correspondence from the bank.

                                   - Execution ofthe Scheme


       9. On or about July 23,2020,DREW attempted to pay rent for his personal residence

with a check drawn on the fraudulent FIBI account in the name of Company A,in the amount of

$26,172.30. The primary owner listed on the FIBI bank account held in the name of Company

A on which the rent check was drawn was Individual J.B. with the residential address ofDREW.


The check DREW attempted to negotiate for his rent payment bore DREW's residential address

and a signature that appeared to be that ofIndividual J.B.

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       DREW made this transaction knowing that the FIBI account and check was fraudulent,

and the signature on the check was forged.

                 (In violation of Title 18, United States Code, Sections 1344).
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                                            COUNT 2
                                   (Aggravated Identity Theft)

        10. The allegations in paragraphs 1 to 9; above, are incorporated herein by reference as

if set forth fully below.

        11. In or around July 2020,in the Eastern District of Virginia, JONATHAN EDWARD

DREW,during and in relation to an enumerated felony violation, namely, bank fraud, as alleged

in Count 1 ofthis Information, in violation of Title 18, United States Code, Section 1344, did

knowingly transfer, possess, and use, without lawful authority, a means ofidentification of

another person, specifically the name,date ofbirth, and social security number ofIndividual

J.B., which was used to faciUtate the scheme to defraud First Internet Bank ofIndiana("FIBI")

and to obtain moneys,funds, credits, assets, securities, and other property owned by, and under

the custody and control ofFIBI, by means offalse and fraudulent pretenses, representations, and

promises.

               (In violation of Title 18, United States Code, Section 1028A(a)(l)).
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                                   NOTICE OF FORFEITURE


       Defendant JONATHAN EDWARD DREW is hereby notified, pursuant to Federal Rule

of Criminal Procedure 32.2(a), that upon conviction of count one ofthis criminal information, he

shall forfeit to the United States, pursuant to 18 U.S.C. § 982(a)(2)(A), any properly constituting,

or derived from,proceeds obtained directly or indirectly, as the result ofthe violation.

       The assets subject to forfeiture include, but are not limited to, the following: a monetary

judgment in an amount to be determined by the Court, representing the proceeds the defendant

obtained from count one ofthe criminal information.


       Pursuant to 21 U.S.C. § 853(p), JONATHAN EDWARD DREW shall forfeit substitute

property, if, by any act or omission ofJONATHAN EDWARD DREW,the property referenced

above cannot be located upon the exercise ofdue diligence; has been transferred, sold to, or

deposited with a third party; has been placed beyond the jurisdiction ofthe Court; has been

substantially diminished in value; or has been commingled with other property which cannot be

divided without difficulty.

(All in accordance with Title 18, United States Code, Sections 982(a)(2)(A)and Fed. R. Crim. P.
32.2.)
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                                    Raj Parekh
                                    Acting United States Attorney




Date: April 6.2021            By:    /s/ Roberta O. Roberts
                                    Roberta O. Roberts
                                    Special Assistant United States Attorney
                                    Russell L. Carlberg
                                    Assistant United States Attorney
